






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00223-CR






Orlando Noel Sanchez, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF LAMPASAS COUNTY, 27TH JUDICIAL DISTRICT


NO. 7302, HONORABLE C. W. DUNCAN, JR., JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant guilty of capital murder.  Tex. Pen. Code Ann. § 19.03 (West
Supp. 2004).  The court assessed punishment of life imprisonment.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and he was advised of his
right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

In his brief, counsel points out that the district court, in charging the jury on the
elements of murder, improperly instructed the jury regarding both an intentional or knowing killing
and the commission of a clearly dangerous act that results in death.  Tex. Pen. Code Ann.
§&nbsp;19.02(b)(1), (2) (West 2003).  In fact, only a murder as defined in section 19.02(b)(1) can be a
capital murder.  Tex. Pen. Code Ann. § 19.03(a) (West Supp. 2004).  Consistent with the capital
murder statute, the indictment alleged that appellant intentionally caused the deceased's death during
the course of a kidnapping.  Appellant did not object to the charge on this ground, and the
application paragraph properly authorized his conviction only if the jury found that he intentionally
killed the deceased.  We agree with counsel that fundamental charge error is not presented.  See
Hughes v. State, 897 S.W.2d 285, 297 (Tex. Crim. App. 1994).

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				__________________________________________

				Mack Kidd, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Affirmed

Filed:   January 23, 2004

Do Not Publish


